         Case5:24-cv-01085-XR
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                        IN THE UNITED STATES DISTRCT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


SOUTHWEST AIRLINES CO.,                   )
                                          )
               Plaintiff,                 )
                                          )
       v.                                 )                  Civil Action No. 5:24-cv-01085-XR
                                          )
THE CITY OF SAN ANTONIO, TEXAS and        )
JESUS SAENZ, in his official capacity as  )
Director of Airports for the City of San  )
Antonio, Texas,                           )
                                          )
               Defendants.                )
__________________________________________)

     ORDER GRANTING UNOPPOSED MOTION TO PARTIALLY MODIFY FIRST
         AMENDED PRELIMINARY INJUNCTION SCHEDULING ORDER
                        AND DISCOVERY PLAN

       Pending before the Court is Southwest Airline’s Unopposed Motion to Partially Modify the

First Amended Preliminary Injunction Scheduling Order and Discovery Plan. Finding good cause,

the Court finds that the Order is GRANTED and the following deadlines shall govern this case:

                       Task                                             Deadline

     Plaintiff files First Amended Complaint                       February 27, 2025
                       (“FAC”)
      Parties complete fact witness depositions                      March 17, 2025

     Parties complete expert witness depositions                     March 14, 2025

   Defendants file Motion to Dismiss (“MTD”) the            Within 21 days of service of FAC
                    FAC
            Plaintiff responds to MTD                       Within 14 days of service of MTD

      Defendants file Reply in Support of MTD          Within 7 days of service of Response to MTD

    Preliminary Injunction Hearing/MTD Hearing          April 23, 24, and 30, 2025 at 9:30 a.m. in
                                                       Courtroom H, United States Courthouse, 262
                                                        West Nueva, San Antonio, Texas 78207.


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      It is SO ORDERED.


DATED: _______________, 2025

                                    _________________________________
                                    XAVIER RODRIGUEZ
                                    U.S. District Judge




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